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              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

                                            )
In re:                                      )   Chapter 11 (Subchapter V)
                                            )
FREE SPEECH SYSTEMS LLC,                    )   Case No. 22-60043 (CML)
                                            )
                  Debtor                    )
                                            )
                                            )
In re:                                      )   Chapter 11
                                            )
ALEXANDER E. JONES,                         )   Case No. 22-33553 (CML)
                                            )
                  Debtor                    )
                                            )




                        EXHIBIT 15
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                                                                                                 United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                UNITED STATES BANKRUPTCY COURT                                          ENTERED
                                  SOUTHERN DISTRICT OF TEXAS                                            May 24, 2023
                                        HOUSTON DIVISION                                             Nathan Ochsner, Clerk


In re:                                                      §
                                                            §        Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                                  §        Chapter 11 (Subchapter V)
                                                            §
         Debtor.                                            §

TWELFTH INTERIM ORDER AUTHORIZING DEBTOR’S USE OF CASH COLLATERAL AND
               PROVIDING PARTIAL ADEQUATE PROTECTION

         On July 29, 2022, the above-captioned debtor and debtor-in-possession (the “Debtor” or “FSS”) in

the above-captioned chapter 11 case (the “Case”), filed its Emergency Motion for an Interim and Final Order

(I) Authorizing the Use of Cash Collateral Pursuant to sections 105, 361, and 363 of the Bankruptcy Code and

Federal Rule of Bankruptcy Procedure 4001(b) and (II) Granting Adequate Protection to the Pre-Petition

Secured Lender (the “Motion”). In the Motion, the Debtor requested, inter alia, entry of an interim order

pursuant to Sections 105, 361, and 363 of title 11 of the United States Code,11 U.S.C. §§ 101, et seq. (the

“Bankruptcy Code”), and in accordance with Rules 2002, 4001,and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), authorizing the Debtor’s use of Cash Collateral (as hereinafter defined),

as set forth herein. The Court held an interim hearing on the Motion on August 3, 2022 (the “Interim Hearing”)

and entered an order approving the interim use of cash collateral. (the “First Interim Order”). The Court has

subsequently conducted periodic hearings extending authority to use cash collateral on an interim basis. This

order is the Twelfth interim order (“Twelfth Interim Order”), negotiated between the Debtor, PQPR and certain

tort claimants pursuing litigation against the Debtor and others in Texas and Connecticut (the “Tort Plaintiffs”).

The Debtor and the Tort Plaintiffs reserve all rights relating to a final hearing on the use of cash collateral.

The findings contained in the First Interim Order are incorporated by reference.

         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

          1.       Interim Use. The Court approves the interim use of cash collateral as set forth herein.
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        2.       Interim Order. This Order shall be considered an interim cash collateral order and shall be

binding upon all parties and upon all subsequently appointed court officers, including any trustee appointed in

the Case under Chapter 7 or Chapter 11 of the Bankruptcy Code.

        3.       DIP Account. The Debtor shall maintain debtor in possession (“DIP”) accounts at Axos Bank

which accounts shall contain all operating revenues and any other source of cash constituting Cash Collateral,

which is (or has been) generated by and is attributable to the Debtor’s business (the “DIP Account”). All cash

generated by the Debtor or from the Debtor’s business or assets, including any cash held in any of the Debtor’s

pre-petition bank accounts, shall be immediately transferred by the Debtor to the DIP Account. The Debtor

shall be prohibited from withdrawing or using Cash Collateral funds from the DIP Account except as provided

for in the Budget, this Order, or pursuant to further order of the Court.

        4.       Terms of Cash Collateral Use. The Debtor is hereby authorized to use Cash Collateral during

the period covered by this Twelfth Interim Order (the “Interim Period”) to pay the items set forth in the revised

Budget attached to this Order as Exhibit A, and up to the respective aggregate amount of disbursements set

forth in the Budget for any week during the Interim Period, subject to the Permitted Variance (as hereinafter

defined). The Permitted Variance shall be defined as 10% per line item and 20% of the overall Budget. The

Debtor shall not use, sell, or expend, directly or indirectly, the Cash Collateral except pursuant to the Budget

and upon the terms and conditions set forth in this Order.

        5.       No Payments to Insiders. Other than as provided for in the Budget, the Debtor shall not make

any payment to or for the benefit of any insider of the Debtor, as that term is defined in section 101(31) of the

Bankruptcy Code. Other than as provided for in the Budget, no payments to any insider during the Interim

Period shall exceed $10,000.

        6.       Further Authorization. The Debtor is hereby authorized to enter into all agreements pursuant

to the terms of this Order necessary to allow the Debtor to use Cash Collateral subject to the terms of this Order

in the amounts and for the expenses set forth on the Budget. The Debtor is authorized to collect and receive all

accounts receivable and other operating revenues and immediately deposit same in the DIP Account.
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        7.      Taxes. Nothing in this Order shall be construed to grant PQPR (the “Pre-Petition Lender”)

liens which are senior to pre- and post-petition statutory ad valorem real property tax liens. The Debtor shall

remain current in all post-petition tax payments and reporting obligations, including, but not limited to, all ad

valorem real property taxes and federal trust fund taxes.

        8.      Adequate Protection – Replacement Liens. The adequate protection and related carve out set

forth in the First Second Third and Fourth Interim Orders are incorporated in the Twelfth Interim Order.

        9.      Adequate Protection Payment. The Debtor will reserve the sum of $5,000 per week during

the Interim Period for adequate protection to PQPR, but shall not pay the reserved amount to PQPR unless

authorized by further orders of this Court. Nothing herein shall constitute an admission that PQPR is or is not

entitled to receive any adequate protection payment on account of its claims. Moreover, nothing herein shall

prejudice the rights of any party-in-interest, including but not limited to the Debtor, any creditor, or PQPR to

challenge or assert PQPR’s entitlement to receive an adequate protection payment.

        10.     Subsequent Modification of Order. If any or all of the provisions of this Order are hereafter

modified, vacated or stayed, such modification, vacation or stay shall not affect the validity of any obligation,

indebtedness or liability incurred by the Debtor from the Petition Date through the effective date of such

modification, vacation or stay, or the validity or enforceability of any security interest, lien or priority

authorized or created by this Order.

        11.     Credit Card Processing. The Debtor is authorized to remit fulfillment costs as provided in the

Fulfillment Agreement previously approved by this Court’s Order Granting Emergency Motion for Entry of

Order Authorizing Debtor to Enter into Fulfillment Agreement [Dkt. No. 286] from the daily settlement

contemporaneously with the distributions to FSS and PQPR. Proceeds received by FSS for sales of PQPR

inventory shall be held by FSS in trust pending distribution to PQPR by FSS.

        12.     Reporting. The Debtor shall report each Thursday for the preceding calendar week reflecting

weekly sales and disbursement of the proceeds of those sales. A copy of the report shall be forwarded to the
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U.S. Trustee, the Subchapter V Trustee, counsel for PQPR and Jarrod Martin as a representative of the Tort

Plaintiffs.

         13.       Reservation of Rights. Nothing herein shall constitute a finding or ruling by this Court that

any alleged and disputed lien or alleged and disputed security interest held by the alleged Pre-Petition Lender

in respect of the purported PQPR Notes (as defined in the Motion) is valid, senior, enforceable, prior, perfected,

or nonavoidable. Moreover, nothing herein shall prejudice the rights of any party-in-interest, including but not

limited to the Debtor, any official committee appointed in the Chapter 11 Case or any other creditor, to

challenge the validity, priority, enforceability, seniority, avoidability, perfection, or extent of any alleged and

disputed lien or alleged and disputed security interest held by the alleged Pre-Petition Lender in respect of the

purported PQPR Notes.

         14.       Final Cash Collateral Hearing: A further interim hearing on the Motion shall be held before

this Court on June 29, 2023, at 11:00 a.m. Central time.

         Houston, Texas

                                                                   ft ~
         Dated: May 25, 2023
               August
       Signed: May     02, 2019
                   24, 2023
                                                               tJ.u1t:-i
                                                           ChristoperLope~
                                                             UNITED STATES BANKRUPTCY JUDGE
                                                           United States Bankruptcy Judge
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                                                                                                                                                                                                                                                                              FREE
                                                                                                                                                                                                                                                                                 SPEECH
                                                                                                                                                                                                                                                                                      SYSTEMS

                                                                                            CURRENT 4 WEEK BUDGET
                                                   6/01/2023-          6/5/2023-           6/12/2023-   6/19/2023-               6/26/2023-
                                                                                                                                                                                                                  NOTES
                                                    6/4/2023           6/11/2023           6/18/2023    6/25/2023                6/30/2023             Total
                                 Week Number           22                  23                  24           25                       26

Income
Product Sales (Net of 7.0% Merchant Fee)       $    201,291.43     $    352,260.00     $    352,260.00    $   352,260.00     $    251,614.29     $   1,509,685.71     Net of 7.0% CC Merchant fees. Includes Shipping and Sales Tax, excludes any PQPR / Platinum related sales
New Product Initiative                               62,838.86          109,968.00          109,968.00        109,968.00           78,548.57           471,291.43     Drop Ship vendor for Meals Ready to Eat, gross sales
Point of Sales Revenue                               18,517.14           32,405.00           32,405.00         32,405.00           23,146.43           138,878.57     Fulfillment Vendor Product Sales
Platinum / PQPR Commission                           36,131.43           63,230.00           63,230.00         63,230.00           45,164.29           270,985.71     Net of 50% payment to PQPR
Donations                                             2,000.00            3,500.00            3,500.00          3,500.00            2,500.00            15,000.00
Total Income                                        320,778.86          561,363.00          561,363.00        561,363.00          400,973.57         2,405,841.43

Selling & Product Costs
Inventory Purchases                                 (250,000.00)               -           (250,000.00)               -                   -            (500,000.00)   New Product acquisition (coffee & CBD)
New Product Initiative                               (43,987.20)        (76,977.60)         (76,977.60)        (76,977.60)         (54,984.00)         (329,904.00)   Payments to Meal Ready to Eat Vendor
Point of Sale Product Cost                            (7,406.86)        (12,962.00)         (12,962.00)        (12,962.00)          (9,258.57)          (55,551.43)   Fulfillment Vendor product costs
Fulfillment Services                                 (27,174.34)        (47,555.10)         (47,555.10)        (47,555.10)         (33,967.93)         (203,807.57)   Fulfillment Vendor shipping and handling costs
Texas Sales Tax (20% of Sales @ 6.25%)                (2,516.14)         (4,403.25)          (4,403.25)         (4,403.25)          (3,145.18)          (18,871.07)
Total Cost of Goods Sold                            (331,084.54)       (141,897.95)        (391,897.95)       (141,897.95)        (101,355.68)       (1,108,134.07)


Operating Expenses
Advertising & Promotion
Print Media                                           (3,000.00)                -                  -                  -                   -             (3,000.00)    Contract is in the process of being cancelled and will not appear going forward
Radio Show Advertising                                      -                   -           (14,500.00)               -                   -            (14,500.00)
Total Advertising & Promotion                         (3,000.00)                -           (14,500.00)               -                   -            (17,500.00)

Computer/IT/IP Expense
Internet & TV services                                (2,500.00)         (1,750.00)          (2,000.00)               -             (2,500.00)          (8,750.00)
Server Hosting / Cloud Service / Ecomm               (90,000.00)        (15,000.00)         (35,000.00)               -            (10,000.00)        (150,000.00)
Satellite Service                                   (140,000.00)        (15,000.00)         (15,000.00)               -            (10,000.00)        (180,000.00)
Telecommunications                                   (18,500.00)         (2,000.00)          (5,000.00)               -             (5,000.00)         (30,500.00)
Image License, Software & Other                             -           (10,000.00)                -           (10,000.00)                -            (20,000.00)
Total Computer/IT/IP Expense                        (251,000.00)        (43,750.00)         (57,000.00)        (10,000.00)         (27,500.00)        (389,250.00)

Office & Administrative Expense
Bank Fees & Service Charges                             (200.00)            (200.00)           (200.00)           (200.00)                -               (800.00)
Insurance                                             (7,500.00)                -                  -                  -                   -             (7,500.00)    Liability and property, FSS doesn't have current Workers Comp policy
Rent                                                 (52,000.00)                -                  -                  -                   -            (52,000.00)
Utilites                                              (3,100.00)            (800.00)               -                  -                   -             (3,900.00)
Janitorial                                            (3,500.00)                -                  -                  -                   -             (3,500.00)
Office Security                                       (7,350.00)          (7,350.00)         (7,350.00)         (7,350.00)          (3,150.00)         (32,550.00)
Repair & Maintenance                                        -                   -            (5,000.00)               -                   -             (5,000.00)
Supplies/Printing/Copy                                (1,000.00)          (1,000.00)         (2,000.00)         (1,000.00)            (250.00)          (5,250.00)    Includes Konica Minolta copier lease
Business Meals                                          (400.00)            (400.00)           (400.00)           (400.00)            (150.00)          (1,750.00)
Total Office & Administrative Expense                (75,050.00)          (9,750.00)        (14,950.00)         (8,950.00)          (3,550.00)        (112,250.00)

Personnel Expenses
Salaries & Wages & Benefits                         (149,500.00)                -          (149,500.00)               -           (149,500.00)        (448,500.00)
Payroll Tax                                          (14,967.38)                -           (14,967.38)               -            (14,967.38)         (44,902.15)
Contract Employees                                   (49,450.00)                -           (14,500.00)               -                   -            (63,950.00)
Consulting Services                                   (3,000.00)          (2,500.00)         (3,000.00)         (2,500.00)          (3,000.00)         (14,000.00)    HR and Bookeeping Fees
Alex Jones Salary                                    (20,000.00)                            (20,000.00)                            (20,000.00)         (60,000.00)
Alex Jones Salary Contingency                        (37,592.31)                -           (37,592.31)               -            (37,592.31)        (112,776.93)    Pending agreement and approval of employment contract
Total Personnel Expenses                            (274,509.69)          (2,500.00)       (239,559.69)         (2,500.00)        (225,059.69)        (744,129.08)

Travel
Mileage/Parking/Tolls                                       -              (100.00)            (100.00)           (100.00)             (50.00)            (350.00)
Travel / Lodging                                     (15,000.00)               -                   -                  -                   -            (15,000.00)    Trip to El Paso to cover Border Crisis. Airfare, Hotel, Meals, Rental Car
Vehicle Rental / Leases                                     -              (500.00)                -              (500.00)                -             (1,000.00)
Total Travel Expenses                                (15,000.00)           (600.00)            (100.00)           (600.00)             (50.00)         (16,350.00)

Total Operating Expenses                            (618,559.69)        (56,600.00)        (326,109.69)        (22,050.00)        (256,159.69)       (1,279,479.08)


Non-Operating Expenses
Adequate Protection Payment to SEC Bank               (2,500.00)                -                  -                  -                   -              (2,500.00)   RV note to SEC Bank of Crawford
Total Other Expenses                                  (2,500.00)                -                  -                  -                   -              (2,500.00)

Professional Fees
CRO Fees                                                    -                   -                  -                  -            (50,000.00)         (50,000.00)
Trustee Fees                                                -                   -                  -           (35,000.00)                -            (35,000.00)
Trustee Counsel                                             -                   -                  -           (25,000.00)                -            (25,000.00)
Legal Fees - Reynal                                         -                   -                  -           (17,000.00)                -            (17,000.00)
Legal Fees - Texas Appellete Counsel                        -                   -                  -           (25,000.00)                -            (25,000.00)
Legal Fees - Connecticut Appellete Counsel                  -                   -                  -           (70,000.00)                -            (70,000.00)    Pending Court approval of agreement on expansion of engagement with Pattis & Smith
M3 Consulting                                               -                   -                  -                  -                   -                   -
Ray Battaglia                                               -                   -                  -           (33,000.00)                -            (33,000.00)
Total Professional Fees                                     -                   -                  -          (205,000.00)         (50,000.00)        (255,000.00)

Total Cash Flow                                     (631,365.38)        362,865.05         (156,644.64)       192,415.05            (6,541.80)        (239,271.73)
                                                                                                                                                                                       EXHIBIT
Ending Cash                                         579,281.82          942,146.87          785,502.22        977,917.27          971,375.47

                                                                                                                                                                                               A
